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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    FRANCHISE GROUP, INC., et al., 1                           Case No. 24-12480 (LSS)

                                 Debtors.                      (Jointly Administered)


                                          AFFIDAVIT OF SERVICE

       I, Ishrat Khan, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.

        On April 29, 2025, at my direction and under my supervision, employees of Kroll caused
the following documents to be served by the method set forth on the Core/2002 Service List
attached hereto as Exhibit A:

     •       Second Supplemental Declaration of Joshua A. Sussberg in Support of the Debtors’
             Application for Entry of an Order Authorizing the Retention and Employment of Kirkland
             & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the Debtors and
             Debtors in Possession Effective as of February 14, 2025 [Docket No. 1344]

     •       Debtors’ Objection to Motion of Granite Telecommunications, LLC for Allowance and
             Payment of Administrative Expense Claim [Docket No. 1361]


1
  The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
(8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
(5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet, LLC
(n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group
Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968),
Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate
BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor Acquisition, LLC (3490), Vitamin Shoppe
Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe
Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590),
Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco
PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service
Newco, LLC (6414), WNW Franchising, LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP
Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL,
LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located
at 2371 Liberty Way, Virginia Beach, Virginia 23456.
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Dated: May 5, 2025
                                                                /s/ Ishrat Khan
                                                                 Ishrat Khan
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on May 5, 2025, by Ishrat Khan, proved to me on
the basis of satisfactory evidence to be the person who executed this affidavit.
/s/ HERBERT BAER
Notary Public, State of New York
No BA6205563
Qualified in Westchester County
Commission Expires May 11, 2025




                                              2                                   SRF 88025
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                       Exhibit A
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                                                                                                                                     Core/2002 Service List
                                                                                                                                    Served as set forth below



                                                     DESCRIPTION                                                            NAME                                                ADDRESS                                                EMAIL        METHOD OF SERVICE

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              Case No. 24‐12480 (LSS)                                                                                                       Page 1 of 13
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                                                                                                                                              Exhibit A
                                                                                                                                         Core/2002 Service List
                                                                                                                                        Served as set forth below



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             Case No. 24‐12480 (LSS)                                                                                                          Page 2 of 13
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                                                                                                                                         Exhibit A
                                                                                                                                   Core/2002 Service List
                                                                                                                                  Served as set forth below



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                                                    DESCRIPTION                                                      NAME                                                     ADDRESS                                        EMAIL          METHOD OF SERVICE

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                                                                                                                                  Core/2002 Service List
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                                                                                                                                 Exhibit A
                                                                                                                            Core/2002 Service List
                                                                                                                           Served as set forth below



                                                   DESCRIPTION                                                   NAME                                              ADDRESS                                              EMAIL      METHOD OF SERVICE

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